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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

M.A.P.S, on her own behalf and on behalf
of others similarly situated,
Petitioner,

Vv.

§
§
§
§
§
§
ANGEL GARITE, MARY DE-ANDA- §

YBARRA, DONALD J. TRUMP, §

PAMELA BONDI, KRISTI NOEM, U.S. §

DEPT. OF HOMELAND SECURITY, § EP-25-CV-00171-DB
TODD LYONS, U.S. IMMIGRATION §

AND CUSTOMS ENFORCEMENT, §

MARCO RUBIO, U.S. DEPT. OF §

STATE, PETE HEGSETH, U.S. DEPT. §

OF DEFENSE, MIGUEL VERGARA, §

BRET BRADFORD, BOBBY §

THOMPSON, CHARLOTTE COLLINS, §

ROSE THOMPSON, and MURRAY §

AGNEW, §

Respondents.

ORDER LIFTING DOCKET VIEWING RESTRICTIONS
On this day, the Court considered the above-captioned case. Per this
Court’s oral orders at the May 29, 2025 hearing, the followings orders shall issue:

IT IS HEREBY ORDERED that the limitations on remote access to electronic files
otherwise applicable in this case, see Fed. R. Civ. P. 5.2(c), are lifted.

IT IS FURTHER ORDERED the District Clerk is directed to lift all viewing
restrictions on the docket—i.e., to make all prior filings electronically available to the
public, and all future filings shall be publicly available unless the Court grants leave to file
under seal or in redacted form.

IT IS FINALLY ORDERED that, if necessary, the District Clerk may change the

nature of suit code to No. 530, “Habeas Corpus,” thereby lifting the limitations on remote
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electronic access to the docket imposed by Rule 5.2(c).

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SIGNED this 32 day of May 2025.

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HONORABLE DAVID BRIONES
SENIOR UNITED STATES DISTRICT JUDGE

